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                                                                                            E-FILED
                                                             Thursday, 29 March, 2012 12:11:44 PM
                                                                     Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 PEORIA DIVISION

ARTARIUS JETT, #R-08785,                        )
                                                )
             Plaintiff,                         )
                                                )
      vs.                                       )   No. 11-cv-01091
                                                )
SUSAN PRENTICE, GUY PIERCE,                     )
MICHAEL MELVIN, and CRAIG BULL,                 )
                                                )
             Defendants.                        )

                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

      NOW COME Defendants, SUSAN PRENTICE, GUY PIERCE, MICHAEL MELVIN,

and CRAIG BULL, by and through their attorney, Lisa Madigan, Attorney General of the

State of Illinois, pursuant to Federal Rule of Civil Procedure 56, and hereby submit their

Motion for Summary Judgment. In support thereof, Defendants state as follows:

1.    Plaintiff filed the instant Amended Complaint for alleged violations of his

      constitutional rights at Pontiac Correctional Center. (Court Doc. # 7.) Plaintiff’s

      Amended Complaint articulated a violation of his Due process rights based on a

      transfer to segregation for 89 days, and a violation of his Eighth Amendment rights

      for failing to provide adequate clothing. (Court Doc. # 9 at 2.)

2.    The record, construed most liberally in Plaintiff’s favor, does not demonstrate a

      violation of Plaintiff’s constitutional rights.

3.    Plaintiff will be unable to sustain his burden to prove a violation of his constitutional

      rights based on the allegations in the Complaint.




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4.     There is no genuine dispute of material fact that Defendants did not violate

       Plaintiff’s constitutional rights and, therefore, are entitled to judgment as a matter

       of law.

5.     Filed contemporaneously and incorporated herein is Defendants’ Memorandum of

       Law in support of this motion.

       WHEREFORE, for the forgoing reasons, Defendants respectfully request this Court

grant Defendants’ Motion for Summary Judgment and any other relief deemed necessary

and just.


                                              Respectfully submitted,

                                              SUSAN PRENTICE, GUY PIERCE
                                              MICHAEL MELVIN and CRAIG BULL,

                                                  Defendants.

                                              LISA MADIGAN, Attorney General,
                                              State of Illinois.

Jerrod L. Williams, #6278719                      Attorney for Defendants.
Assistant Attorney General
500 South Second Street
Springfield, Illinois 62706               By: s/ Jerrod L. Williams
Phone: (217) 557-0261                        JERROD L. WILLIAMS
Fax: (217) 524-5091

Of Counsel.




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  PEORIA DIVISION

ARTARIUS JETT, #R-08785,                      )
                                              )
              Plaintiff,                      )
                                              )
       vs.                                    )   No. 11-cv-01091
                                              )
LIEUTENANT PRENTICE, WARDEN                   )
GUY PIERCE, SUPERINTENDENT                    )
MICHAEL MELVIN, CRAIG BULL,                   )
CLOTHING ROOM EMPLOYEE,                       )
JOHN DOE REVIEWING OFFICER,                   )
and JANE DOE REVIEWING OFFICER,               )
                                              )
              Defendants.                     )

                               CERTIFICATE OF SERVICE

        I hereby certify that on March 29, 2012, I electronically filed Defendants’ Motion for
Summary Judgment with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following:

       None

and I hereby certify that on March 29, 2012, I mailed by United States Postal Service, the
document to the following non-registered participant:

       Artarius Jett, #R-08785
       Pontiac Correctional Center
       Inmate Mail/Parcels
       PO Box 99
       Pontiac, IL 61764
                                                  Respectfully Submitted,
                                                  s/ Jerrod L. Williams
                                                  Jerrod L. Williams, #6278719
                                                  Attorney for Defendants
                                                  Office of the Attorney General
                                                  500 South Second Street
                                                  Springfield, IL 62706
                                                  Telephone: (217) 557-0261
                                                  Facsimile: (217) 524-5091
                                                  jlwilliams@atg.state.il.us

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